Case 2:18-cr-00062-RGD-LRL Document 61 Filed 06/15/20 Page 1 of 25 PageID# 374



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                     NORFOLK DIVISION



 DEBBIE SIERS-HILL,

        Petitioner
                                                             CRIMINAL NO.2;18cr62
                                                              CIVIL NO.2:20cv38
        V.




 UNITED STATES OF AMERICA,

        Respondent.

                                  MEMORANDUM OPINION

        This matter comes before the Court on Debbie Siers-Hill's("Petitioner") Motion to Vacate,

 Set Aside or Correct Sentence pursuant to 28 U.S.C. § 2255 ("§ 2255 Motion"). ECF No. 40. In

 her § 2255 Motion, Petitioner asks the Court to vacate her judgment ofconviction and sentence on

four grounds, all of which center on the assertion that her offense—Possession of an Unregistered
 Biological Agent or Toxin (Ricin)—-was not in violation of law at the time of said possession.

        As a broad overview of the matters addressed herein, the Court provides the following

synopsis of the statute at issue: On April 18, 2018, Petitioner was named in a two-count criminal

indictment, one count of which charged her with Possession of an Unregistered Biological Agent
or Toxin (Ricin), in violation of 18 U.S.C. § 175b(c)(l). Title 18 U.S.C. § 175b(c)(l) states,

        Whoever knowingly possesses a biological agent or toxin where such agent or toxin
        is a select agent for which such person has not obtained a registration required by
        regulations under section 351A(c) of the Public Health Service Act shall be fined
        under this title, or imprisoned for not more than 5 years, or both.

18 U.S.C. § 175b(c)(l). Subsection (d) of § 175b defines the scope of such "select agents,"

explaining that "[t]he term 'select agent' means a biological agent or toxin to which subsection (a)
applies." Id § 175b(d)(I). Finally, turning to the language of § 175b's subsection (a) at the time
Case 2:18-cr-00062-RGD-LRL Document 61 Filed 06/15/20 Page 2 of 25 PageID# 375



 of Petitioner's indictment,

        No restricted person shall ship or transport in or affecting interstate or foreign
        commerce, or possess in or affecting interstate or foreign commerce, any biological
        agent or toxin, or receive any biological agent or toxin that has been shipped or
        transported in interstate or foreign commerce, if the biological agent or toxin is
        listed as a non-overlap or overlap select biological agent or toxin in sections 73.4
        and 73.5 of title 42, Code of Federal Regulations, pursuant to section 351A of the
        Public Health Service Act, and is not excluded under sections 73.4 and 73.5 or
        exempted under section 73.6 of title 42, Code of Federal Regulations.

 Id § 175b(a)(l). The Court finds that the statute enumerated above—that was in effect at the time

 of Petitioner's offense and subsequent indictment—criminalized the unregistered possession of

 ricin. For the reasons set forth herein, Petitioner fails to state a cognizable claim for relief.

 Accordingly, the Court DENIED Petitioner's § 2255 Motion. ECF No. 40.

I.      FACTUAL AND PROCEDURAL HISTORY

        A brief description of the material facts follows: In March and April of 2016, officers of

the Virginia Beach Police Department searched Petitioner's storage unit located on Dam Neck

Road in Virginia Beach. Presentence Investigation Report("PSR"),ECF No.34,^ 1. Said storage

unit was held in Petitioner's name and paid for with her credit card. Id In addition, Petitioner

was the only one observed entering and departing the unit based on surveillance video of the area.

Id Officers recovered several items from the unit, including liquid chemicals, syringes, packages

of castor plant seeds, and three firearms. Id T| 2. One of the firearms was a Charter Arms .38

caliber revolver with an obliterated serial number. Id In addition, one of the liquid chemicals was

held in a container that had been wrapped in towels and double-wrapped in plastic bags, along

with latex gloves. Id

        Chemical samples obtained from the storage unit were sent to a state laboratory for testing

and were then sent for additional testing at federal laboratory in Maryland. Id K 3. The federal

laboratory identified the substance held in the double-wrapped container to include ricin and also
Case 2:18-cr-00062-RGD-LRL Document 61 Filed 06/15/20 Page 3 of 25 PageID# 376



 determined that traces of ricin were on the syringes. Id According to the Statement of Facts,

        Ricin is a highly dangerous toxin that occurs naturally in castor seeds. It can be
        derived from castor seeds using several methods, and there is no known antidote to
        ricin poisoning. Because it has been determined to have the potential to pose a
        severe health threat, ricin is listed as a "select agent" by the U.S. Department of
        Health and Human Services. Before they can possess ricin, individuals must
        comply with certain select agent registration requirements, including requirements
        under section 351 A(c) of the Public Health Service Act.

 Id. ^4. Petitioner had not obtained the requisite registration to possess ricin. Id.1|5. A forensic

 examination of Petitioner's phone revealed a web history of viewing articles titled, "Caffeine

 Powder Poses Deadly Risks";"Why is Powdered Caffeine Dangerous?";"Pure Caffeine Powder:

 What You Need to Know?"; and "Death by Caffeine Powder." Id. ^ 7. According to case agents,

 powdered caffeine was also recovered from Petitioner's storage unit. Id.

        On April 18, 2018, Petitioner was named in a two-count criminal indictment charging her

 with Possession of an Unregistered Biological Agent or Toxin (Ricin), in violation of 18 U.S.C. §

 175b(c)(l) (Count One), and Possession of a Firearm with an Obliterated Serial Number, in

 violation of 18 U.S.C. §§ 922(k) and 924(a)(1)(B)(Count Two). ECF No. 3. On September 18,

2018, Petitioner appeared before the Court and pled guilty to Count One pursuant to a written plea

agreement with the Government. ECF No. 18. On January 14, 2019, this Court sentenced

Petitioner to a term of thirty-five(35)months. ECF No. 32. Supervised release was set for a three-

year term. Id. at 3.

        On January 13, 2020, Petitioner filed her § 2255 Motion and accompanying Letter Motion

to Proceed in Forma Pauperis. ECF Nos. 39, 40. On March 20, 2020, the Court ordered the

Government to respond to Petitioner's § 2255 Motion within sixty(60)days from the date therein

and denied Petitioner's Letter Motion to Proceed in Forma Pauperis as moot. ECF No. 43.
Case 2:18-cr-00062-RGD-LRL Document 61 Filed 06/15/20 Page 4 of 25 PageID# 377



        On May 5, 2020, Petitioner filed a Motion for Compassionate Release, ECF No. 48, and

 the Court established a briefing schedule for the same, thereby appointing the FPD to represent

 Petitioner in her compassionate release proceedings, ECF No. 49. However, citing a conflict of

 interests due to Petitioner's pending § 2255 Motion, the FPD filed a Motion to Withdraw on May

 12,2020. ECF No. 51.

        By Order dated May 19, 2020, the Court advised the parties that the case of United States

 V. Jordan. No. 4:I8-CR-163 JM, 2020 WL 1531367, at *1 (E.D. Ark. Mar. 30, 2020) had been

 brought to the Court's attention. ECF No. 52. In Jordan, the United States District Court for the

 Eastern District of Arkansas granted the defendant's Motion to Dismiss the Indictment—as the

 defendant had been indicted under the same statute applicable in the instant case, 18 U.S.C. §

 175b—based on the contention that ricin was not listed in the Code of Federal Regulations

("C.F.R.") as a select agent at the time of his indictment. 2020 WL 1531367, at *2. Additionally,

Jordan appended United States v. Gibbs thereto, in which the District Court for the Northern

District of Georgia similarly concluded that an indictment under 18 U.S.C. § 175b could not

proceed on the basis of unregistered possession of ricin. 2:17-cr-00005-RWS-JCF(N.D. Ga. Sept.

21,2018)(Doc. No. 71).

        Based on the persuasive reasoning contained therein that appeared to support Petitioner's

request for relief in her § 2255 Motion, the Court appointed Mr. Jamison Rasberry as counsel for

Petitioner. ECF No. 52. In addition, the Court set an expedited briefing schedule, thereby

requiring the Government to respond within seven (7) days of the date therein. Moreover, the

Court advised Petitioner that she could file a reply, if any, within seven (7) days after service of

the response ofthe United States. Id Finally,the Court took under advisement Petitioner's Motion

for Compassionate Release and the FPD's Motion to Withdraw pending resolution of Petitioner's
Case 2:18-cr-00062-RGD-LRL Document 61 Filed 06/15/20 Page 5 of 25 PageID# 378



 § 2255 Motion. Id.

         The Government filed its Response on May 26, 2020,ECF No. 55, and Petitioner filed her

 Reply on June 2, 2020, ECF No. 57. The Court conducted an evidentiary hearing on Petitioner's

 § 2255 Motion on June 11, 2020. At said hearing, Mr. Alan Salsbury and Mr. Andrew Bosse

 appeared on behalf of the Government, while Mr. Jamison Rasberry appeared on behalf of

 Petitioner. Petitioner was also present at said hearing. At said hearing, the Court heard argument

 from both Mr. Salsbury and Mr. Rasberry. Although the Government subpoenaed Ms. Suzanne

 Katchmar, Petitioner's former defense counsel, to appear at the hearing, Ms. Katchmar did not

 testify, as her affidavit was not contested. Petitioner did not testify at said hearing.

        By Order dated June 11, 2020, the Court denied Petitioner's § 2255 Motion, while

 indicating that a memorandum opinion would subsequently be filed. ECF No. 59. This

 Memorandum Opinion sets forth the reasons for the Court's ruling.

II.     LEGAL STANDARDS FOR § 2255 MOTIONS

        A.      General Standard of Review

        Collateral review created by 28 U.S.C. § 2255 allows a prisoner in federal custody to

challenge the legality of a federal sentence on four grounds: (1) the sentence was imposed in

violation of the Constitution or laws of the United States; (2) the sentencing Court lacked

jurisdiction;(3) the sentence imposed was in excess of the maximum amount authorized by law;

or(4)the sentence is "otherwise subject to collateral attack." 28 U.S.C. § 2255. On such grounds,

the petitioner may move the court to vacate, set aside, or correct a sentence. The Supreme Court

has held that § 2255 is the appropriate vehicle by which a federal prisoner may challenge both a

conviction and the post-conviction sentence. Davis v. United States. 417 U.S. 333,343-44(1974).
Case 2:18-cr-00062-RGD-LRL Document 61 Filed 06/15/20 Page 6 of 25 PageID# 379



         A district court may dismiss a petitioner's § 2255 motion in several clearly defined

 circumstances. The statute provides that,"[ujnless the motion and the files and the records of the

 case conclusively show that the prisoner is entitled to no relief, the court shall cause notice thereof

 to be served upon the United States attorney [and] grant a prompt hearing thereon .. .      28 U.S.C.

 § 2255. Thus, as a corollary, a court may dismiss a § 2255 motion if it is clearly inadequate on its

face and if the petitioner would not be entitled to relief assuming the facts alleged in the motion

 are true. If the motion when viewed against the record shows that the petitioner is entitled to no

 relief, the court may summarily deny the motion. Raines v. United States. 423 F.2d 526, 529(4th

 Cir. 1970).

         When filing a § 2255 petition to vacate, set aside, or correct a sentence, a petitioner "bears

the burden of proving his grounds for collateral attack by a preponderance of the evidence." Hall

 V. United States. 30 F. Supp. 2d 883, 889(E.D. Va. 1998)(citing Vanater v. Boles. 377 F.2d 898,

900(4th Cir. 1967)); Miller v. United States. 261 F.2d 546, 547(4th Cir. 1958)). A motion under

§ 2255 may not "do service for an appeal." United States v. Fradv. 456 U.S. 152, 165(1982).

         Any matter that could have been asserted either at trial or on appeal but was not so asserted

is not appropriate for review on motion under § 2255—thereby subjecting it to procedural

default—unless there is a showing of "cause" sufficient to excuse the procedural default and of

"actual prejudice" resulting from the error. Thus,"[wjhere a defendant has proeedurally defaulted

a claim by failing to raise it on direct review, the claim may be raised in habeas only if the

defendant can first demonstrate either 'cause' and 'actual prejudice,' or that he is 'actually

innocent.'" Bouslev v. United States. 523 U.S. 614, 622(1998)(quoting Murray v. Carrier. 477

U.S. 478,485, 496 (1986)); see also United States v. Mikalaiunas. 186 F.3d 490, 492-93 (4th Cir.

1999).
Case 2:18-cr-00062-RGD-LRL Document 61 Filed 06/15/20 Page 7 of 25 PageID# 380



         "The existence of cause for procedural default must turn on something external to the

 defense, such as the novelty of the claim or a denial of effective assistance of counsel."

 Mikalaiunas. 186 F.3d at 493; see also McCleskev v. Zant. 499 U.S. 467, 493-94 (1991).

 Moreover, when a movant has knowingly and voluntarily pled guilty and waived his right to

 appeal, he cannot demonstrate cause sufficient to warrant habeas review. United States v. Wiggins.

905 F.2d 51, 53 (4th Cir. 1990)(a knowing and voluntary plea agreement in which the petitioner

 expressly waives his right to appeal is valid and enforceable).

        A showing of "actual prejudice" requires a petitioner to establish that the error had a

"substantial and injurious effect or influence in determining the jury's verdict." Fry v. Plilen 551

 U.S. 112, 116(2007)(quoting Brecht v. Abrahamson. 507 U.S. 619. 631 (1993)). Thus, showing

 actual prejudice requires a petitioner to show that the errors not only created the possibility of

 prejudice but that they worked to his actual and substantial disadvantage. Fradv. 456 U.S. at 170.

        However, a showing of cause and prejudice is not required ifthe movant seeks relief based

on a constitutional violation that may have resulted in a fundamental miscarriage of justice,

McCleskev. 499 U.S. at 494; or the movant raises certain constitutional claims that may be

adequately addressed only on collateral review, such as ineffective assistance of counsel, Massaro

V. United States. 538 U.S. 500, 509 (2003); see also Mikalajunas. 186 F.3d at 493. Finally, a

petitioner must establish actual innocence by clear and convincing evidence. Id.

        B.     Section 2255 Claims Following Guilty Pleas

        As considerations offinality carry "special force with respect to convictions based on guilty

pleas," a guilty plea may be attacked on collateral review only in "strictly limited" circumstances.

Bouslev, 523 U.S. at 621 (quoting United States v. Timmreck. 441 U.S. 780, 784(1979)). Thus, a

"voluntary and intelligent plea of guilty" made by one "who has been advised by competent



                                                     7
Case 2:18-cr-00062-RGD-LRL Document 61 Filed 06/15/20 Page 8 of 25 PageID# 381



 counsel . . . may not be collaterally attacked." Mabrv v. Johnson. 467 U.S. 504,508(1984).

        A petitioner who has pleaded guilty may file a § 2255 motion to raise a claim that his plea

 was not voluntary and intelligent. Bouslev. 523 U.S. at 618-19. Bouslev held that where a

 petitioner had been misinformed as to the elements ofthe offense against him, the guilty plea was

 unintelligent and therefore "constitutionally invalid." Id. A petitioner may also raise a claim

 pursuant to a § 2255 motion that he or she received ineffective assistance of counsel prior to

 entering a plea.

        As a guilty plea is an admission of all the elements ofthe charges in the indictment, United

 States v. Broce. 488 U.S. 563, 569 (1989), a petitioner typically may not collaterally attack the

 plea on the grounds of insufficient evidence to prove an element of the offense. Thus, a claim that

 the evidence was insufficient to prove an element cannot be raised on collateral review, but a claim

that the petitioner was misinformed about the elements of the offense at the plea hearing may be

raised under Bouslev.


        C.      Ineffective Assistance of Counsel Standard of Review

         To succeed on an ineffective assistance of counsel claim, a petitioner must satisfy the two-

prong test set forth in Strickland v. Washington. 466 U.S. 668 (1984). A petitioner's failure to

satisfy either prong of the Strickland test renders it unnecessary for a reviewing court to consider

the other element. United States v. Roane. 378 F.3d 382,404(4th Cir. 2004).

        The first prong requires that the petitioner show that counsel's performance fell below an

objective standard ofreasonableness. To show that defense counsel's performance was objectively

unreasonable, the petitioner must articulate specific acts or omissions whereby counsel's

performance fell "outside the wide range of professionally competent assistance." Strickland. 466

U.S. at 690. When reviewing the propriety of these alleged acts or omissions, courts must give
Case 2:18-cr-00062-RGD-LRL Document 61 Filed 06/15/20 Page 9 of 25 PageID# 382



 substantial deference to defense counsers strategic judgments. Id at 689-90.

        The second prong requires that the petitioner demonstrate that he was prejudiced by

 counsel's deficient performance, in that it is "reasonably likely" that, but for counsel's

 unprofessional errors, the result of the proceedings would have been different. Harrington v.

 Richter. 562 U.S. 86, 111-12 (2011)(citing Strickland. 466 U.S. at 696). "The likelihood of a

 different result must be substantial, not just conceivable." Id.(citing Strickland. 466 U.S. at 693).

 The burden is on the petitioner to affirmatively prove prejudice. Strickland. 466 U.S. at 693. When

 applying this test to the guilty plea process, the Supreme Court has held that, to show prejudice,

the Petitioner "must show that there is a reasonable probability that, but for counsel's errors, [the

Petitioner] would not have pleaded guilty and would have insisted on going to trial." Hill v.

Lockhart. 474 U.S. 52, 59(1985).

III.    PETITIONER'S § 2255 MOTION

        In her § 2255 Motion, Petitioner alleges four grounds for relief, including that (1) her

sentence was imposed in violation of the law; (2) the Court was without authority to impose a

sentence; (3) her guilty plea was not knowing and voluntary because it was effectuated on the

advice of defense counsel, who had not researched the statute under which Petitioner was

convicted; and (4) defense counsel failed to research the statute under which Petitioner was

convicted. See ECF No. 40. All four of Petitioner's grounds for relief are intertwined, centering

on the primary contention that ricin was not a "select agent" at the time ofthe offense and therefore

Petitioner's possession thereof was not in violation of 18 U.S.C. § 175b(c)(l). Id at 7.

        The Court will first address Petitioner's underlying assertion that her sentence was imposed

in violation of the law. In so doing, the Court will duly address Petitioner's jurisdictional claim,

in which she asserts the Court was without authority to impose a sentence. Next, the Court will

address Petitioner's two remaining claims, which find their nexus in ineffective assistance of
Case 2:18-cr-00062-RGD-LRL Document 61 Filed 06/15/20 Page 10 of 25 PageID# 383



 counsel. For the reasons discussed below, the Court finds that ricin was listed as a select agent at

 the time of Petitioner's offense, and therefore Petitioner's possession thereof was in violation of

 18 U.S.C. § 175b(c)(l). Accordingly, Petitioner's § 2255 Motion, which hinges on a finding to

 the contrary, must be denied.

         A.      Unregistered Possession of Ricin

         At the heart of Petitioner's argument, she contends that the sentence imposed in her case

 was in violation of the law, as unregistered possession of ricin was not a crime at the time of her

 indictment. EOF No. 40 at 7. Next, Petitioner expands her ricin argument into jurisdictional

 territory, contending that the Court was without authority to impose a sentence. Id at 8. In essence

 then. Petitioner attacks her indictment as defective, asserting that she was never charged with an

 actual crime considering the classification of ricin at the time of her indictment. Id The Court

 finds Petitioner's position unpersuasive.

                1.       Applicable Law

        The Court's analysis must begin with the language of the statute. In construing a statute,

 the Court applies the plain meaning of the statutory language, unless there is a clearly expressed

 legislative intent to the contrary, or "when a literal application would frustrate the statute's purpose

 or lead to an absurd result." Nat'l Coal, for Students with Disabilities Educ. & Legal Def. Fund

 V. Allen. 152 F.3d 283, 288 (4th Cir. 1998). Where the statutory language has a plain meaning,

 the Court's inquiry is complete, and it will enforce the statute as written. Stephens ex rel. R.E. v.

 Astrue. 565 F.3d 131, 137, 140 (4th Cir. 2009). A statute's plain meaning is defined by the

 statutory language's common and ordinary meaning, absent an indication from Congress that the

 language should have a different meaning,id at 137, and by both the specifie context in which the

 language is used and in the broader context of the statute as a whole, Robinson v. Shell Oil Co..



                                                       10
Case 2:18-cr-00062-RGD-LRL Document 61 Filed 06/15/20 Page 11 of 25 PageID# 384



 519 U.S. 337,341 (1997). Alternatively, where statutory language is ambiguous, and thus lacking

 a plain meaning, the Court will look to a statute's legislative history to determine the intent of

 Congress. See, e.g.. Stiltner v. Beretta U.S.A. Com.. 74 F.3d 1473, 1482 (4th Cir. 1996).

            Here, § 175b(c) prohibits "knowingly possess[ing] a biological agent or toxin where such

 agent or toxin is a select agent for which such person has not obtained a registration required by

 regulations under section 351A(c) of the Public Health Service Act                  " 18 U.S.C. § 175b(c)(l).

 A "select agent" is one "to which subsection (a) applies." Id § 175b(d)(l). At the time of

 Petitioner's indictment on April 18, 2018,subsection(a)of § 175b applied "if the biological agent

 or toxin is listed ... in sections 73.4 and 73.5 of title 42" of the C.F.R. Id § 175b(a)(l). 42 C.F.R.

 § 73.4 includes a list of overlap' select agents and toxins that the Department of Health and Human

 Services ("HHS") has determined pose potential threats to public health and safety, while 42

 C.F.R. § 73.5 contains exemptions thereto. Significantly, neither 42 C.F.R. § 73.4 nor § 73.5

 mention ricin.


            On July 25, 2019, Congress acknowledged the exclusion of ricin from the select agent list

 as "a scrivener's error" or "drafting error," and amended § I75b(a) to correct the same. Effective

 Prosecution of Possession of Biological Toxins and Agents Act of 2019, Pub L. 116-31, 133 Stat.

 1034 (2019); see also 165 Cong. Rec. H5331-01 (describing the same as a "drafting error").

 Accordingly, the amendment replaced the reference to agents listed in sections 73.4 and 73.5 of

 Title 42 of the C.F.R., which did not include ricin, to more broadly include select biological agents

 or toxins under all of part 73 of Title 42 of the C.F.R. Ricin is indeed listed as a select agent and

 toxin under 42 C.F.R. § 73.3(b).




'For reference, select agents and toxins that are regulated by both HHS and the Department of Agriculture are
known as "overlap agents," while select agents and toxins that HHS alone regulates are referred to as "non-overlap
 agents."

                                                             11
Case 2:18-cr-00062-RGD-LRL Document 61 Filed 06/15/20 Page 12 of 25 PageID# 385



                2.      Discussion


        In her § 2255 Motion, Petitioner contends that she pleaded guilty to a charge that was not

 a criminal offense, as "18 U.S.C. 175b(c)(l) nor Public Health Service Act 351A(c) list ricin as a

 'select agent.'" ECF No. 40 at 4. Because these laws "plainly exclude[]" ricin. Petitioner asserts

 that her possession thereof was "not a crime nor has it been for many years." Id. at 5. Given the

 complexity ofthis statutory matter, the Court will briefly recount the arguments ofthe Government

 and Petitioner, respectively.

                        a.       The Government's Response

        In response to Petitioner's argument, the Government presents three primary arguments:

 (1) the legislative history shows that Congress has always included ricin in its definition of

 restricted select agents; (2) Petitioner's argument would lead to an absurd result; and (3) where

 Congress's intent is clear, courts have rejected similar arguments premised on analogous

 scrivener's errors and cross-reference discrepancies. ECF No. 55 at 10.

        First, the Government relies on legislative history, contending that Congress has always

 included ricin in its definition of restricted select agents. Id at 13. In December of 2004, the

 Government explains that Congress modified § 175b based on HHS's amendment of its list of

 select agents and toxins regulated by the C.F.R.:

        [A]s HHS changed the Part of Title 42 of the C.F.R. that held its list of regulated
        select agents from Part 72 to Part 73, Congress tracked that change in § 175b,
        referring to the specific new subparts in HHS's amended interim final rule listing
        non-overlap and overlap select agents, i^, 42 C.F.R. §§ 73.4(HHS non-overlap
        select agents, the list that includes ricin) and 73.5 (overlap select agents, the group
        also regulated by USDA)—^thus leaving no doubt about its intent to continue to
        restrict the unregistered possession of ricin and other HHS select agents, which,
        again, is the reason for the law in the first place.

 Id. at 14. However, when HHS finalized the amended list of select agents and toxins, it had

 renumbered the sections, and Congress's changes to § 175b did not track said renumbering.


                                                      12
Case 2:18-cr-00062-RGD-LRL Document 61 Filed 06/15/20 Page 13 of 25 PageID# 386



 Accordingly, Congress's ultimate modification to § 175b contained a cross-reference to the C.F.R.

 sections that did not reference ricin. Id. at 15. As such, the Government argues that the lack of

 reference to ricin in § 175b was due to HHS's renumbering of the C.F.R. sections, not due to

 Congressional intent. Id. at 16.

         Next, the Government avers that siding with Petitioner would lead to an absurd result, as

 HHS's decision to renumber its list of select agents would in turn mean that the statute allowed

 anyone to possess ricin and other agents,such as "ebola, the reconstituted 1918 pandemic influenza

 strain, the SARS coronavirus, various neurotoxins, Marburg virus, monkeypox, smallpox, and a

 variety of South American hemorrhagic fever viruses." Id at 17. Accordingly, Petitioner's

 interpretation runs contrary to the very meaning of § 175b.

        Moreover, the Government states that § 175b is ambiguous because § 175b applied "if the

 biological agent or toxin is listed as a non-overlap or overlap select biological agent or toxin in

 sections 73.4 and 73.5 of title 42" of the C.F.R. 18 U.S.C. § 175b(a)(l)(emphasis added). 42

 C.F.R. § 73.4 includes a list of overlap select agents and toxins, while 42 C.F.R. § 73.5 contains

 exemptions thereto. So, while the cross-references refer to overlap select agents and their

 exceptions, noticeably absent is any cross-references to non-overlap agents. The Government

 contends then that such a discrepancy creates an ambiguity in the reading of the statute. Id. at 18.

 Due to such ambiguity, the Government asserts that the Court can assess the legislative history

 behind the statute instead of relying on a plain reading thereof. Id, at 19.

        Based on this alleged ambiguity and absurdity, the Government lastly argues that courts

 have rejected arguments similar to Petitioner's that are premised on analogous scrivener's errors

 and cross-reference discrepancies. Id at 20. For instance, the Government highlights United

 States V. Bhutani. 266 F.3d 661 (7th Cir. 2001). In amending the Food, Drug, and Cosmetic Act



                                                      13
Case 2:18-cr-00062-RGD-LRL Document 61 Filed 06/15/20 Page 14 of 25 PageID# 387



 in 1984, Congress moved the provision containing certain record-keeping requirements from 21

 U.S.C. § 355(j) to § 355(k). Id at 665. The associated criminal penalty, 21 U.S.C. § 331(e), still

 referenced the failure to maintain records under § 355(j). Id The cross-reference error was

 corrected in 1990; the question for the Seventh Circuit was whether a criminal conviction from the

 six-year interim during which the criminal statute cross-referenced the incorrect subsection could

 stand. The Seventh Circuit, after a thorough analysis of the question, held that it could, explaining

 that "strictly reading and applying the FDCA as it was at the time of the offense in question would

 put the plain language at odds with the statute's purpose and intent," and noting that there was "no

 indication in the legislative history that in amending the [statute] Congress intended to eliminate

 the penalties." Id at 667. Accordingly, the Government argues,

         The same is true here: Congress, when it passed the version of § 175b in effect at
         the time Petitioner possessed the ricin, referenced the C.F.R. provisions containing
         the list of non-overlap and overlap select agents the statute explicitly was intended
         to cover—^i^, 42 C.F.R. §§ 73.4 and 73.5. HHS's decision to renumber those
         C.F.R. provisions was a "subsequent... modification" ofa kind that did not change
         the meaning of the statute.

 ECF No. 55 at 22. Ultimately then, the Government concludes that Petitioner's position is

 untenable and her § 2255 Motion should be denied.

                        b.      Petitioner's Replv

        In Petitioner's Reply, she focuses primarily on rebutting the Government's statutory

 interpretation of § 175b. As a threshold matter. Petitioner emphasizes that the cross-references

 contained in § 175(b) at the time of her indictment exhibited no reference to ricin. ECF No. 57.

 While the Government relies on legislative history to support its assertions regarding Congress's

 intent and touts that a plain reading of the statute would lead to an absurd result, Petitioner points

 to the rules ofstatutory interpretation, indicating that legislative history need not be assessed where

 the statutory language is unambiguous. Id at 5. Specifically, "Where a reading of the statute


                                                       14
Case 2:18-cr-00062-RGD-LRL Document 61 Filed 06/15/20 Page 15 of 25 PageID# 388



 produces a clear and logical result that reading should be applied by the interpreting court without

 ftirther review." Id at 7.

         in support thereof, Petitioner cites United States v. Hanev. 814 F.2d 905, 917 (4th Cir.

 1987), which states,"Even where the results appear anomalous or unintended in a particular case,

 courts are not free to disregard the plain language of the statute itself." Id Accordingly, rather

 than siding with the Government and ignoring the plain and clear language of the statute at hand.

 Petitioner urges the Court to follow the explicit direction of the statute, which she claims simply

 did not criminalize the possession of ricin at the time of Petitioner's indictment. Id

        Moreover, relying on United States v. Jordan and United States v. Gibbs. where the district

 courts dismissed indictments against the respective defendants for the statute's claimed failure to

 reference ricin. Petitioner encourages the Court to avoid "looking for a way to produce a certain

 result but instead to faithfully apply the law as written." Id at 8. Lastly, Petitioner cites the rule

 of lenity, asserting that any statutory ambiguity should be resolved in favor of Petitioner. Id at

 10. As such, Petitioner requests that the Court grant her § 2255 Motion,

                        c.      Analysis


        The Court finds that § 175b criminalized the unregistered possession ofricin in Petitioner's

 case. Upon extensively assessing the legislative history associated with this statute, it is

 abundantly clear that Congress has always intended to criminalize such unregistered possession,

 but that this clarity has been wrongly called into question by HHS's eleventh-hour action of

 renumbering portions of the C.F.R. Critical to this conclusion is an understanding of HHS's

 proposed interim final rule from December of 2002; the Congressional amendment of § 175b in

 December of 2004; and HHS's subsequent reformatting of relevant subsections in the C.F.R. in




                                                      15
Case 2:18-cr-00062-RGD-LRL Document 61 Filed 06/15/20 Page 16 of 25 PageID# 389



 March of 2005.


        Turning first to HHS's proposed interim final rule from December of2002, HHS published

 said rule in the Federal Register, indicating therein:

        This document establishes requirements regarding possession and use in the United
        States, receipt from outside the United States, and transfer within the United States,
        of certain biological agents and toxins (referred to below as select agents and
        toxins). This includes requirements concerning registration, security risk
        assessments, safety plans, security plans, emergency response plans, training,
        transfers, record keeping, inspections, and notifications. The Act requires an
        interim final rule and mandates its effective date and transition provisions. The new
        regulations are set forth in a new 42 CFR part 73 (referred to below as the part 73
        regulations).

 Possession, Use, and Transfer of Select Agents and Toxins, 67 Fed. Reg. 76886-01 (Dec. 13,

 2002). Reviewing this interim final rule further reveals that ricin was listed in 42 C.F.R. § 73.4,

 which was titled "HHS select agents and toxins." Id Congress took note of this listing when it

 amended § 175b in December of 2004, therein explicitly cross-referencing said subsection of the

 C.F.R. and thereby criminalizing unregistered possession of ricin. See Intelligence Reform and

 Terrorism Prevention Act of 2004, Pub. L. 108-458, 118 Stat. 3638 (2004). Accordingly,

 subsection (a) of § 175b described select agents as those "listed . .. in sections 73.4 and 73.5 of

 title 42" of the C.F.R. Id § 175b(a)(l).

        Only after the fact ofthis Congressional amendment in December of2004 did HHS publish

 its final rule in March of2005, which changed the "structure and format of the HHS regulations."

 Possession, Use, and Transfer of Select Agents and Toxins, 70 Fed. Reg. 13294-01 (Mar. 18,

 2005). Unlike the interim final rule discussed above, which listed ricin in 42 C.F.R. § 73.4 and

 was relied upon in the December 2004 Congressional amendment of§ 175b,the final rule switched

 said classification, moving ricin—and the list of HHS select agents and toxins—to 42 C.F.R. §

 73.3. Id As the Government aptly notes, "In other words, several months after Congress had



                                                      16
Case 2:18-cr-00062-RGD-LRL Document 61 Filed 06/15/20 Page 17 of 25 PageID# 390



 amended § 175b to cross-reference the subpart numbers in HHS's amended interim final rules,

 HHS shifted its numbering scheme by .1." ECF No. 55 at 15.

         The mere fact that HHS, a federal agency, renumbered the subsection of the C.F.R.

 referring to ricin after Congress had relied on HHS's representation of said subsections in

 amending § 175b can have no substantive impact on the statute. In other words, HHS had no

 authority to alter the substantive nature of § 175b or its meaning, as Congress's amendment in

 December of2004 made explicitly clear that it intended to continue criminalization ofunregistered

 possession of ricin. To hold otherwise—finding that § 175b did not criminalize the unregistered

 possession of ricin—would trample the specific intent of Congress and grant improper authority

 to HHS, as HHS's renumbering would effectively lead to criminal penalties for possession of

 certain select agents and not others. See generallv Encamacion ex rel. George v. Bamhart. 331

 F.3d 78,86(2d Cir. 2003)(in the context ofan agency's interpretation ofits regulation,"[I]t would

 make no sense to presume that Congress had the general intent to delegate to an agency the power

 to contradict Congress's clearly expressed specific intent in some other matter ....").

        Accordingly,'"Congress has supplied a clear and unambiguous answer to the interpretive

 question at hand'. . . and an inconsistent agency regulation cannot displace Congress' intent."

 United States v. Erazo-Diaz. 353 F. Supp. 3d 867,872(D. Ariz. 2018)(quoting Pereira v. Sessions.

 138 S. Ct. 2105, 2113-14 (2018)); set also United States v. Haggar Apparel Co.. 526 U.S. 380,

 392(1999)("In the process of considering a regulation in relation to specific factual situations, a

 court may conclude the regulation is inconsistent with the statutory language or is an unreasonable

 implementation of it. In those instances, the regulation will not control"). As such, Petitioner's

 claim that she was sentenced in violation of the law is meritless, as § I75b criminalized the




                                                    17
Case 2:18-cr-00062-RGD-LRL Document 61 Filed 06/15/20 Page 18 of 25 PageID# 391



 unregistered possession of ricin in Petitioner's case.

         This conclusion is duly true as to Petitioner's second claim regarding the Court lacking

 authority or jurisdiction with which to proceed against her. ECF No. 40 at 8. Such jurisdiction

 that Petitioner alludes to "defines the court's authority to hear a given type of case," and "Congress

 [has] bestow[ed] that authority on lower courts by statute." Alikhani v. United States, 200 F.3d

 732, 734(11th Cir. 2000); Courtade v. United States. No. 2:15CR29, 2017 WL 6397105, at *13

 (E.D. Va. Dec. 13, 2017). For federal crimes, Congress did so in 18 U.S.C. § 3231, providing

 district courts with "original jurisdiction, exclusive of the courts of the States, of all offenses

 against the laws of the United States." 18 U.S.C. § 3231. Based on the discussion above,

 Petitioner's offense was one against the "laws of the United States." The indictment charged

 Petitioner with violating 18 U.S.C. § 175b, a valid federal statute in the United States Code. As

 such, § 3231 empowered the Court with jurisdiction to act over Petitioner's indictment. United

 States V. Brown.752 F.3d 1344,1353 (11th Cir. 2014). As such. Petitioner's first two claims must

 fail.


         The Court is cognizant ofthe fact that this conclusion runs contrary to the outcomes in both

 United States v. Jordan. No. 4:18-CR-163 JM,2020 WL 1531367(E.D. Ark. Mar. 30, 2020) and

 United States v. Gibbs. 2:17-cr-00005-RWS-JCF (N.D. Ga. Sept. 21, 2018)(Doc. No. 71). The

 Court also recognizes that the argument discussed above was not addressed in Jordan or Gibbs. In

 arriving at their joint conclusion that § 175b could not be read to criminalize unregistered

 possession ofricin,the Courts in Jordan and Gibbs appeared to rely on reading the statute plainly—

 thereby ignoring that the change of the regulation could not truly alter the statute at issue—and the

 supposed existence of unclear Congressional intent. However, this Court is persuaded that the

 instant case requires application of the plain meaning of the statutory language, unless there is



                                                      18
Case 2:18-cr-00062-RGD-LRL Document 61 Filed 06/15/20 Page 19 of 25 PageID# 392



 clearly expressed legislative intent to the contrary. Nat'l Coal,for Students with Disabilities Educ.

 & Legal Def. Fund v. Allen. 152 F.3d 283, 288 (4th Cir. 1998)(emphasis added).

         Here, there is clearly expressed legislative intent contrary to a plain reading of the statute.

 Indeed, there was legislative action to the contrary. Specifically, unlike the reasoning advanced in

 Jordan and Gibbs. there can be no lack of clarity in regard to Congressional intent where Congress

 explicitly tracked HHS's changes in the C.F.R. when amending § 175b in December of2004 so as

 to criminalize unregistered possession of ricin. Thus, the Court is bound by this clearly expressed

 legislative intent and must hold accordingly, thereby declining to give substantive effect to the

 agency's renumbering in March of 2005.

         B.     Ineffective Assistance of Counsel


         Finally, Petitioner argues in her remaining two claims that her defense counsel rendered

 ineffective assistance of counsel for failing to research § 175b, which led to Petitioner submitting

 a plea of guilty that was not knowing and voluntary. ECF No. 40 at 4-5. More specifically.

 Petitioner argues that her attomey failed to advise that Petitioner's possession of ricin did not

 support a conviction under § 175b. Id. According to Petitioner, had her attomey taken the time to

 research Petitioner's case and the cross-references contained in § 175b, the attomey would have

 realized that ricin was not labeled as a "select agent," and Petitioner would not have pleaded guilty.

 Id


        The record is sufficient for the Court to conclude that Petitioner did not receive

 constitutionally ineffective assistance of counsel. For instance, the record itself rebuts Petitioner's

 contention that her counsel failed to inform Petitioner that her possession of ricin did not support

 a conviction under § 175b. In fact. Petitioner was well-aware of the impact of United States v.

 Gibbs—within which the District Court for the Northern District of Georgia concluded that an



                                                       19
Case 2:18-cr-00062-RGD-LRL Document 61 Filed 06/15/20 Page 20 of 25 PageID# 393



 indictment under 18 U.S.C. § 175b could not proceed on the basis of unregistered possession of

 ricin—as counsel advised her of the same. 2:17-cr-00005-RWS-JCF (N.D. Ga. Sept. 21, 2018)

 (Doc. No. 71). According to the unrebutted submission of Ms. Katchmar's affidavit and letters,^

 Ms. Katchmar advised Petitioner of Gibbs on November 2, 2018, discussing the possibility of

 attempting to withdraw Petitioner's plea and the potential consequences thereof. ECF No. 55-1 at

 1. At the time, Ms. Katchmar indicated that Petitioner was "leaning toward keeping matters as

 status quo." Id.

          Ultimately, Petitioner "confirmed that [she] wished to keep [her] plea in place due to the

 potential negative consequences that could occur related to allegations of financial

 crimes/improprieties that the Government had agreed not to pursue in the written plea agreement."

 Id. Again, on November 19, 2018, Petitioner "confirmed [her] wish to maintain [her] guilty plea."

 Id. Based on the following. Petitioner was kept abreast of the developments in her case, including

 the possibility that Petitioner's possession ofricin did not support a conviction under § 175b based

 on Gibbs. Petitioner herself then determined that she desired to maintain the "status quo" and not

 pursue a motion to withdraw her guilty plea. Given the fact that Ms. Katchmar's performance was

 sufficient with regard to her research and interpretation of § 175b, Petitioner's claim that her plea

 was not knowing and voluntary must fail as it was premised on that basis alone.

          As for the prejudice prong of the Strickland test, a defendant who claims that he received

 ineffective assistance of counsel in entering a guilty plea must demonstrate that "there is a

 reasonable probability that, but for counsel's errors, he would not have pleaded guilty and would

 have insisted on going to trial."            Hill v. Lockhart. 474 U.S. 52, 59 (1985). Such a showing

 "depend[s] largely on whether [he] likely would have succeeded at trial." S^ Hill 474 U.S. at


 ^ Notably, at the hearing on June 11, 2020, Mr. Rasberry advised the Court that Petitioner did not wish to contest the
 contents of Ms. Katchmar's affidavit or appended letters.

                                                               20
Case 2:18-cr-00062-RGD-LRL Document 61 Filed 06/15/20 Page 21 of 25 PageID# 394



 59. Here,Petitioner has made no more than the bare formulaic assertion that, but for her counsel's

 advice, she would not have pleaded guilty. However,this claim is not credible given the extent of

 the charges that Petitioner avoided by not going to trial and the absence of any offered reason why

 she might have been confident of an acquittal.

           Indeed, Petitioner benefited from her guilty plea by avoiding prosecution for "conduct

 related to access device information, identity card information, or other documents and data

 recovered pursuant to search warrants executed during the investigation of this case." ECF No.

 18 at ^ 8. In addition, the Govemment agreed to move to dismiss the remaining count of the

 indictment against Petitioner ri.e.. Possession of a Firearm with an Obliterated Serial Number, in

 violation of 18 U.S.C. §§ 922(k) and 924(a)(1)(B)). Id ^ 9. Therefore, Petitioner's remaining

 claims centering on ineffective assistance of counsel fail to allege any deficient performance or

 resulting prejudice as required to state an ineffective assistance of counsel claim under Strickland.

 Accordingly, Petitioner's ineffective assistance of counsel claims are without merit and must be

 denied.


        C.        Analysis in the Alternative


        As the Court emphasized at the June 11, 2020 hearing, the underlying statutory

 interpretation in this case presents a complex inquiry. Indeed, reasonable jurists could differ on

 the issues resolved by this Court's Order. Accordingly, the Court finds analysis in the altemative

 necessary to complete its inquiry. In such a scenario then, the Court assumes arguendo that

 Petitioner pleaded guilty to that which was not a crime. However, even if this Court were to

 conclude that § 175b could not be read to eriminalize the unregistered possession of ricin in

 Petitioner's case. Petitioner's § 2255 Motion would fail nonetheless due to procedural default.




                                                     21
Case 2:18-cr-00062-RGD-LRL Document 61 Filed 06/15/20 Page 22 of 25 PageID# 395



         Although the Government would have improperly relied upon Petitioner's unregistered

 possession ofricin to support her conviction under § 175b, Petitioner failed to present this issue at

 any time during the proceedings conducted before the Court, In addition, she filed no appeal.

 Accordingly, such claim would be procedurally defaulted. Fradv. 456 U.S. at 167-68. Although

 procedural default may be overcome by demonstrating "cause" and "prejudice," id., here.

 Petitioner would fail to demonstrate either cause for failing to litigate such claim on appeal or

 resulting prejudice. Petitioner likewise would fail to demonstrate that a "miscarriage ofjustice

 would result from the refusal of the court to entertain" the instant claim. Mikalaiunas. 186 F.3d at

 494; White v. United States. No. 4;11CR11, 2014 WL 2002249, at *7(E.D. Va. May 13, 2014).

        Fundamentally, Petitioner's counsel never raised the issue of the hypothetical invalidity of

 the § 175b charge during the plea proceedings or at sentencing, and Petitioner did not appeal the

 § 175b conviction. When an attorney allows a defendant to plead guilty to a charge that is not a

 crime, the Court will have critical questions as to the constitutional sufficiency of said attorney's

 performance. Despite this, in a case where the defendant is charged with more than one offense,

 the Court must engage an analysis that considers the resolution ofall charges against the defendant.

 "The conduct of an attorney who allows a defendant to plead guilty to a charge that is not a crime

 will be deemed constitutionally deficient on collateral attack only if, upon consideration of ail of

 the charges against the defendant, the conduct prejudiced the defendant." United States v. Fowler,

 No. 95-1207, 1996 WL 734637, at *5 (10th Cir. Dec. 23, 1996)(unpublished). Thus, as to the

 procedural default inquiry, the disposition of the "cause" factor depends upon the disposition of

 the "prejudice" factor.




                                                     22
Case 2:18-cr-00062-RGD-LRL Document 61 Filed 06/15/20 Page 23 of 25 PageID# 396



                1.      Cause/Prejudice

        Here, the substantial benefit that Petitioner derived from pleading guilty to the § 175b

 offense would preclude a determination that any prejudice resulted from her choice to plead guilty

 to an offense that was not a crime. Indeed, "if a defendant substantially benefited from a plea

 bargain that he entered into voluntarily and intelligently, even if he pleaded guilty to a charge that

 was not a crime, he is not permitted to collaterally attack that conviction." Id.

        Petitioner benefited from her guilty plea by avoiding prosecution for "conduct related to

 access device information, identity card information, or other documents and data recovered

 pursuant to search warrants executed during the investigation of this case." ECF No. 18 at ^ 8. In

 addition, the Government agreed to move to dismiss the remaining count of the indictment against

 Petitioner (i.e.. Possession of a Firearm with an Obliterated Serial Number, in violation of 18

 U.S.C. §§ 922(k) and 924(a)(1)(B)). Id T| 9. In such circumstances,"since the defendant. .. used

 the plea as a tool for avoiding a more serious conviction .. . it would be the height of sophistry to

 vacate the defendant's plea of guilty." Fowler. 1996 WL 734637, at *5 (internal citations and

 quotations omitted). Accordingly, no prejudice resulted from Petitioner's failure to raise this issue

 previously and said claim would have been procedurally barred on collateral review.

                2.      Fundamental Miscarriage of Justice

        Similarly, Petitioner would fail to demonstrate that a "miscarriage ofjustice would result

 from the refusal of the court to entertain" the instant claim. Mikalaiunas. 186 F.3d at 494. In

 deciding whether this narrow exception applies, the "prototypical example" is the case in which

 "the State has convicted the wrong person of the crime" such that "it is evident that the law has

 made a mistake." Sawver v. Whitlev. 505 U.S. 333.339^1 (1992). Use ofthis exception is "rare"




                                                      23
Case 2:18-cr-00062-RGD-LRL Document 61 Filed 06/15/20 Page 24 of 25 PageID# 397



 and limited to the "extraordinary case." See Schlup v. Delo. 513 U.S. 298. 321 (1995).

         In light of the extreme limitations on its appropriate utilization, Petitioner's predicament

 simply would not fit the description thereof. As discussed above, Petitioner's guilty plea to the §

 175b count appears to have been a tactical decision to avoid prosecution for the financial crimes

 that Petitioner knew the Federal Bureau of Investigation was investigating and to have the firearm

 charge dismissed. In addition, after benefiting from her plea in the above-enumerated ways,

 Petitioner then failed to take a direct appeal, which was likely a prudent strategic decision. If, for

 instance, Petitioner had appealed her § 175b conviction and succeeded, the appropriate remedy

 likely would have been to vacate the entire plea agreement and remand for a new trial, a result that

 likely would have been to Petitioner's disadvantage. Petitioner now asks the Court on collateral

 review to vacate her conviction as to which she has admitted guilt, from which she has gained a

 favorable plea bargain, and which she declined to challenge on direct appeal.                Only a

 "hypertechnical construction" could lead the Court to conclude that the facts ofthis case constitute

 a fundamental miscarriage ofjustice. Fowler. 1996 WL 734637, at *6. Accordingly, the Court

 would decline to hold the same,thereby denying Petitioner's § 2255 Motion under this alternative

 reading of the statute.

        IV.     CONCLUSION


        For the reasons set forth above, the Court FOUND that Petitioner's § 2255 Motion, along

 with the files and the records of the instant case, show that Petitioner was not entitled to relief

 under 18 U.S.C. § 2255. Accordingly, Petitioner's § 2255 Motion was DENIED. ECF No. 40.

        Petitioner is ADVISED that she may appeal from this final Order by forwarding a written

 notice of appeal to the Clerk of the United States District Court, United States Courthouse, 600

 Granby Street, Norfolk, Virginia 23510. Said written notice must be received by the Clerk within



                                                      24
Case 2:18-cr-00062-RGD-LRL Document 61 Filed 06/15/20 Page 25 of 25 PageID# 398



 60 days from the date of this Order. Furthermore, because reasonable jurists could differ on the

 issues resolved by this Court's Order, the Court GRANTS a certificate of appealability pursuant

 to Rule 22(b) of the Federal Rules of Appellate Procedure.      Miller-El v. Cockrell. 537 U.S.

 322, 336 (2003).

        The Clerk is DIRECTED to forward a copy of this Order to the Petitioner and to all

 Counsel of Record, including Ms. Suzanne Katchmar.

        IT IS SO ORDERED.




                                                    UNITED STATES DISTRICT JUDGE

 Norfolk, yA
 June 0,2020




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